      Case 1:19-cr-02032-SMJ              ECF No. 101       filed 09/17/19    PageID.310 Page 1 of 2




 1   William D. Hyslop
     United States Attorney
 2   Eastern District of Washington
     Thomas J. Hanlon
 3   Assistant United States Attorney
 4   Richard C. Burson
     Assistant United States Attorney
 5   402 E. Yakima Ave., Suite 210
     Yakima, WA 98901
 6   Telephone: (509) 454-4425
 7
 8                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WASHINGTON
 9
10   UNITED STATES OF AMERICA,                                         )     NO: 1:19-CR-02032-SMJ-2
                                                                       )
11                                                                     )
                             Plaintiff,
12                                                                     )     GOVERNMENT’S RESPONSE TO
                                                                       )     UNOPPOSED MOTION TO
13           vs.                                                       )     CONTINUE
                                                                       )
14                                                                     )
     JAMES DEAN CLOUD,
15                                                                     )
                                                                       )
                            Defendant.
16                                                                     )
                                                                       )
17
18
19          Plaintiff, United States of America, by and through William D. Hyslop, United States
20   Attorney for the Eastern District of Washington, and Thomas J. Hanlon and Richard C. Burson,
21
     Assistant United States Attorneys for the Eastern District of Washington, hereby responds to the
22
     Defendant’s Unopposed Motion to Continue (ECF No. 99).
23
24          The United States continues to provide discovery upon receipt. As to the charged

25   offenses, the United States has provided a fingerprint report, a DNA report, and a firearms

26   interstate nexus report to counsel.
27
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                                                        1
     Government’s Response to Unopposed Motion
     To Continue
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 1          The United States has received requests for additional discovery. The United States is

 2   actively working with counsel to resolve any potential discovery issues in this case.
 3          The United States has no objection to the motion to continue the current trial setting of
 4
     October 28, 2019 to March 30, 2020.
 5
 6
 7          DATED this 17th day of September, 2019.

 8                                                 WILLIAM D. HYSLOP
                                                   United States Attorney
 9
10                                                 s/Thomas J. Hanlon
                                                   THOMAS J. HANLON
11                                                 Assistant United States Attorney
12
13                                                 s/Richard C. Burson
                                                   RICHARD C. BURSON
14                                                 Assistant United States Attorney

15
16
17
18          I hereby certify that on September 17, 2019, I electronically filed the foregoing with the
19
     Clerk of the Court using the CM/ECF System which will send notification of such filing to the
20
     following: John B. McEntire, IV.
21
22
23                                          s/THOMAS J. HANLON
                                            Thomas J. Hanlon
24                                          Assistant United States Attorney
                                            United States Attorney’s Office
25
                                            402 E. Yakima Avenue, Suite 210
26                                          Yakima, WA 98901
                                            Phone: (509) 454-4425
27
28
                                                      2
     Government’s Response to Unopposed Motion
     To Continue
